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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

KEVIN BURBIGE and ZIYANG NIE,               Case No. 1:21-CV-04349
Individually and on Behalf of All Others
Similarly Situated,

                             Plaintiffs,

               v.

ATI PHYSICAL THERAPY, INC. f/k/a
FORTRESS VALUE ACQUISITION
CORP. II, LABEED DIAB, JOSEPH
JORDAN, ANDREW A. MCKNIGHT,
JOSHUA A. PACK, MARC FURSTEIN,
LESLEE COWEN, AARON F. HOOD,
CARMEN A. POLICY, RAKEFET
RUSSAK-AMINOACH, and SUNIL
GULATI,

                              Defendants.




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             FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


                                      Case No. 1:21-CV-06415
In re ATI Physical Therapy, Inc.
Shareholder Derivative Litigation




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         IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

WENDELL ROBINSON,
                                      Case No. 2023-0142-NAC
                        Plaintiff,

    v.

FORTRESS ACQUISITION SPONSOR II,
LLC, ANDREW A. MCKNIGHT, JOSHUA
A. PACK, MARC FURSTEIN, LESLEE
COWEN, AARON F. HOOD, CARMEN A.
POLICY, RAKEFET RUSSAK-
AMINOACH, SUNIL GULATI, DANIEL
N. BASS, MICAH B. KAPLAN, and
LABEED DIAB,

                        Defendants.




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          IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

PHILLIP GOLDSTEIN,
                                       Case No. 2023-0582-NAC
                          Plaintiff,

    v.

FORTRESS ACQUISITION SPONSOR II,
LLC, LABEED DIAB, JOSEPH JORDAN,
CEDRIC COCO, RAY WAHL, JOHN L.
LARSEN, JOHN MALDONADO,
CARMINE PETRONE, JOANNE M.
BURNS, CHRISTOPHER KRUBERT,
JAMES E. PARISI, JOSHUA A. PACK,
ANDREW A. MCKNIGHT, MARC
FURSTEIN, AARON F. HOOD, CARMEN
A. POLICY, SUNIL GULATI, LESLEE
COWEN, RAKEFET RUSSAK-
AMINOACH, DANIEL BASS, and MICAH
KAPLAN,
                       Defendants,

             and

ATI PHYSICAL THERAPY, INC.,

             Nominal Defendant.


         FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE




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        WHEREAS, the above-captioned actions (collectively, the “Actions”) are pending in this
Court and the Delaware Chancery Court;

        WHEREAS, (a) Lead Plaintiffs Phoenix Insurance Company Ltd. and The Phoenix
Pension & Provident Funds (“Lead Plaintiffs”), Consolidated Plaintiff City of Melbourne
Firefighters’ Retirement System (together with Lead Plaintiffs, the “Securities Plaintiffs”);
(b) Plaintiffs Vinay Kumar, Ziyang Nie, Julia Chang, and Brendan Reginbald (collectively, the
“Ghaith Plaintiffs”); (c) Plaintiff Wendell Robinson; (d) Plaintiff Phillip Goldstein (together with
the Securities Plaintiffs, the Ghaith Plaintiffs, and Plaintiff Wendell Robinson, “Plaintiffs”), on
behalf of themselves and the Settlement Class (defined below); and (e) Defendants ATI Physical
Therapy, Inc. (“ATI” or the “Company”) 1 f/k/a Fortress Value Acquisition Corp. II (“FVAC”),
Labeed Diab, Joseph Jordan, Andrew A. McKnight, Joshua A. Pack, Marc Furstein, Leslee Cowen,
Aaron F. Hood, Carmen A. Policy, Rakefet Russak-Aminoach, Sunil Gulati, John L. Larsen, John
Maldonado, Carmine Petrone, Joanne M. Burns, Christopher Krubert, James E. Parisi, Micah B.
Kaplan, Cedric Coco, Ray Wahl, Daniel N. Bass, Fortress Acquisition Sponsor II LLC, and
Fortress Investment Group LLC (collectively, “Defendants,” and collectively with Plaintiffs, the
“Settling Parties”), have entered into a Stipulation and Agreement of Settlement dated May 13,
2024 (the “Stipulation”) that provides for a complete dismissal with prejudice of the claims
asserted against the Securities Defendants in the Securities Action and the putative class (direct)
claims asserted against the defendants in the Multiplan Actions, on the terms and conditions set
forth in the Stipulation, subject to the approval of this Court (the “Settlement”);
        WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall
have the same meaning as they have in the Stipulation;
        WHEREAS, by Order dated May 21, 2024 (the “Preliminary Approval Order”), this Court:
(a) preliminarily approved the Settlement; (b) certified the Settlement Class solely for purposes of


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  “ATI” or the “Company” also refers to Wilco Holdco, Inc., the private company predecessor to
the current, publicly-traded ATI business following the consummation of a “de-SPAC” business
combination between Wilco Holdco, Inc. and Fortress Value Acquisition Corp. II consummated
on June 17, 2021 (the “Business Combination”).
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effectuating the Settlement; (c) ordered that notice of the proposed Settlement be provided to
potential Settlement Class Members; (d) provided Settlement Class Members with the opportunity
either to exclude themselves from the Settlement Class or to object to the proposed Settlement;
and (e) scheduled a hearing regarding final approval of the Settlement;
        WHEREAS, due and adequate notice has been given to the Settlement Class;
        WHEREAS, the Court conducted a hearing on September 24, 2024 (the “Settlement
Hearing”) to consider, among other things, (a) whether the terms and conditions of the Settlement
are fair, reasonable, and adequate to the Settlement Class, and should therefore be approved; and
(b) whether a judgment should be entered dismissing (i) the Securities Action with prejudice as
against the Securities Defendants, and (ii) the putative class (direct) claims in the Ghaith Action
with prejudice as against the Ghaith Defendants;
        WHEREAS, after the Settlement and the settlement concerning all derivative claims in the
Ghaith Action and the Goldstein Action become Final, the respective plaintiffs have agreed to
dismiss the the Multiplan Actions with prejudice; and
        WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed
and proceedings held herein in connection with the Settlement, all oral and written comments
received regarding the Settlement, and the record in the Securities Action, and good cause
appearing therefor;
        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
       1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Securities
Action and the Ghaith Action, and all matters relating to the Settlement, as well as personal
jurisdiction over all of the Parties and each of the Settlement Class Members.
       2.      Incorporation Of Settlement Documents – This Judgment incorporates and
makes a part hereof: (a) the Stipulation filed with the Court on May 13, 2024; and (b) the Notice
and the Summary Notice, both of which were filed with the Court on May 13, 2024 as Exhibit A-
1 and A-3 to the Stipulation, respectively.
       3.      Class Certification For Settlement Purposes – The Court hereby affirms its

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determinations in the Preliminary Approval Order certifying, for the purposes of the Settlement
only, pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, a “Settlement
Class” consisting of all persons or entities who: (i) purchased or otherwise acquired ATI Securities
between February 22, 2021 and October 19, 2021, both dates inclusive, and/or beneficially owned
and/or held shares of FVAC Class A common stock as of May 24, 2021 and were eligible to vote
at FVAC’s June 15, 2021 special meeting to vote on the Business Combination (the “Securities
Subclass”); and/or (ii) beneficially owned and/or held FVAC Class A common stock as of the June
11, 2021 Redemption Date and were entitled to, but did not elect to, redeem their shares (the
“Multiplan Subclass”). Excluded from the Settlement Class are (i) Defendants; (ii) current and
former Officers and directors of the Company; (iii) members of the Immediate Family of each of
Defendants; (iv) all subsidiaries and affiliates of the Company and the directors and Officers of
such subsidiaries or affiliates; (v) all persons, firms, trusts, corporations, Officers, directors, and
any other individual or entity in which any of Defendants has a controlling interest; and (vi) the
legal representatives, agents, affiliates, heirs, successors-in-interest, or assigns of all such excluded
parties; provided, however, that any Investment Vehicle shall not be excluded from the Settlement
Class. Also excluded from the Settlement Class are any persons or entities who timely and validly
exclude themselves from the Class in accordance with the requirements set forth in the Notice and
Rule 23 of the Federal Rules of Civil Procedure.
        4.      Notice – The Court finds that the dissemination of the Notice and the publication
of the Summary Notice: (a) were implemented in accordance with the Preliminary Approval
Order; (b) constituted the best notice practicable under the circumstances; (c) constituted notice
that was reasonably calculated, under the circumstances, to apprise Settlement Class Members of
(i) the pendency of the Actions, (ii) the effect of the proposed Settlement (including the Releases
to be provided thereunder), (iii) Plaintiffs’ Counsel’s motions for awards of attorneys’ fees and
reimbursement of Litigation Expenses, (iv) their right to object to any aspect of the Settlement, the
Plan of Allocation, and/or Plaintiffs’ Counsel’s motions for awards of attorneys’ fees and
reimbursement of Litigation Expenses, (v) their right to exclude themselves from the Settlement

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Class, and (vi) their right to appear at the Settlement Hearing; (d) constituted due, adequate, and
sufficient notice to all persons and entities entitled to receive notice of the proposed Settlement;
and (e) satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, the United
States Constitution (including the Due Process Clause), the Private Securities Litigation Reform
Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable law and rules.
       5.      Adequacy Of Representation – Pursuant to Rule 23 of the Federal Rules of Civil
Procedure, and for the purposes of the Settlement only, the Court hereby affirms its determinations
in the Preliminary Approval Order certifying Plaintiffs as class representatives for the Settlement
Class and appointing Plaintiffs’ Counsel as class counsel for the Settlement Class, and that
Plaintiffs’ Counsel have fairly and adequately represented the Settlement Class both in terms of
litigating the Securities Action and the Multiplan Actions, and for purposes of entering into and
implementing the Settlement and have satisfied the requirements of Federal Rules of Civil
Procedure 23(a)(4) and 23(g), respectively.
       6.      Final Settlement Approval And Dismissal Of Claims – Pursuant to Rule 23 of
the Federal Rules of Civil Procedure, the Court hereby approves the Settlement set forth in the
Stipulation and finds that:
       (a) the Stipulation and the Settlement described therein are, in all respects, fair, reasonable,
       and adequate, and in the best interest of the Settlement Class;
       (b) there was no collusion in connection with the Stipulation;
       (c) the Stipulation was the product of informed, arm’s-length negotiations among
       competent, able counsel; and
       (d) the record is sufficiently developed and complete to have enabled Plaintiffs and
       Defendants to adequately evaluate and consider their positions.
       7.      Accordingly, the Court authorizes and directs implementation and performance of
all of the terms and provisions of the Stipulation, as well as the terms and provisions hereof. The
Securities Action and all claims contained therein are dismissed with prejudice. The Ghaith
Action’s putative class (direct) claims are dismissed with prejudice. The Settling Parties are to

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bear their own costs, except as otherwise provided in the Stipulation.
       8.      The finality of this Judgment shall not be affected, in any manner, by rulings that
the Court may make regarding (a) Plaintiffs’ Counsel’s applications for awards of attorneys’ fees
and reimbursement of Litigation Expenses or awards to Plaintiffs or (b) the Plan of Allocation for
the Net Settlement Fund.
       9.      Binding Effect – The terms of the Stipulation and of this Judgment shall be forever
binding on Defendants, Plaintiffs, and all other Settlement Class Members (regardless of whether
or not any individual Settlement Class Member submits a Claim Form or seeks or obtains a
distribution from the Settlement Fund), as well as their respective successors and assigns.
       10.     Releases – The Releases set forth in paragraphs 5 and 6 of the Stipulation, together
with the definitions contained in paragraph 1 of the Stipulation relating thereto, are expressly
incorporated herein in all respects. The Releases are effective as of the Effective Date.
Accordingly, this Court orders that:
               (a)     Upon the Effective Date, Plaintiffs and each of the other Settlement Class
Members, on behalf of themselves, and their current and former subsidiaries, affiliates, parents,
successors, predecessors, predecessors-in-interest, successors-in-interest, assigns, assignees,
attorneys, heirs, executors, estates, or administrators, in their capacities as such, and any other
person or entity who has the right, ability, standing, or capacity to assert, prosecute, or maintain
on behalf of any Settlement Class Member any of the Released Plaintiffs’ Claims (or to obtain the
proceeds of any recovery therefrom) in their capacities as such, shall be deemed to have – and by
operation of law and of this Judgment shall have – fully, finally, and forever compromised, settled,
released, resolved, relinquished, waived, dismissed, and discharged each and every Released
Plaintiffs’ Claim (as defined in Stipulation) against Defendants and Defendants’ Releasees (as
defined in the Stipulation), and shall be permanently and forever barred and enjoined from
instituting, commencing, participating in, maintaining, or continuing to prosecute any action or
proceeding in any court of law or equity, arbitration tribunal, administrative forum, or other forum
of any kind, asserting any Released Plaintiffs’ Claims (including, without limitation, Unknown

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Claims), as well as any claims arising out of, relating to, or in connection with, the defense,
settlement, or resolution of the Actions, against any of Defendants’ Releasees. For the avoidance
of doubt, Released Claims include any and all direct claims that are asserted in any of the Multiplan
Actions.
                (b)    Upon the Effective Date, Defendants, on behalf of themselves and each of
their current and former subsidiaries, affiliates, parents, successors, predecessors, predecessors-in-
interest, successors-in-interest, assigns, assignees, attorneys, heirs, executors, estates, or
administrators, in their capacities as such, shall be deemed to have, and by operation of law and of
this Judgment shall have, fully, finally, and forever compromised, settled, released, resolved,
relinquished, waived, dismissed, and discharged any and all Released Defendants’ Claims (as
defined in the Stipulation) against Plaintiffs and Plaintiffs’ Releasees (as defined in the
Stipulation), shall be permanently and forever barred and enjoined from instituting, commencing,
participating in, maintaining, or continuing to prosecute any action or proceeding in any court of
law or equity, arbitration tribunal, administrative forum, or other forum of any kind, asserting any
Released Defendants’ Claims (including, without limitation, Unknown Claims), as well as any
claims arising out of, relating to, or in connection with, the defense, settlement, or resolution of
the direct claims in the Actions, against any of Plaintiffs’ Releasees. Notwithstanding the above,
nothing shall bar any action by any of the Settling Parties to enforce or effectuate the terms of the
Stipulation, the Preliminary Approval Order, or this Judgment.
       11.     Notwithstanding the foregoing, nothing in this Judgment shall bar any action by
any of the Settling Parties to enforce or effectuate the terms of the Stipulation or this Judgment.
       12.     Rule 11 Findings – The Court finds and concludes that the Plaintiffs and
Defendants and their respective counsel have complied in all respects with the requirements of
Rule 11 of the Federal Rules of Civil Procedure in connection with the institution, prosecution,
defense, and settlement of the Actions.
       13.     Plan Of Allocation Approval – The Court finds and concludes that the formula
for the calculation of the claims of Claimants as set forth in the Plan of Allocation submitted by

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Plaintiffs’ Counsel, as described in the Notice and in accordance with the terms of the Stipulation,
is hereby approved as fair, reasonable, and adequate. Any further orders or proceedings solely
regarding the Plan of Allocation, or any appeal from any order relating thereto or reversal or
modification thereof, shall be considered separate and apart from this Judgment and shall not
operate to terminate the Settlement or in any way disturb or affect this Judgment, the finality of
this Judgment, or the release of the Released Claims. Any orders regarding the Plan of Allocation
shall not affect or delay the Effective Date of the Settlement.
       14.          No Admissions – Neither this Judgment, the settlement agreements in principle,
the facts and terms of the Settlement, the Stipulation (whether or not consummated), including the
exhibits thereto, and the Plan of Allocation contained therein (or any other plan of allocation that
may be approved by the Court), the negotiations leading to the execution of the settlement
agreements in principle and the Stipulation, nor any act performed or proceedings taken pursuant
to or in connection with the settlement agreements in principle, the Stipulation, and/or approval of
the Settlement (including any arguments proffered in connection therewith):
               a)      shall be offered against any of Defendants or Defendants’ Releasees as

evidence of, or construed as, or deemed to be evidence of any presumption, concession, or

admission by any of Defendants or Defendants’ Releasees with respect to the truth of any fact

alleged by Plaintiffs or the validity of any claim that was or could have been asserted or the

deficiency of any defense that has been or could have been asserted in the Actions or in any other

litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of any of

Defendants or Defendants’ Releasees or in any way referred to for any other reason as against any

of Defendants or Defendants’ Releasees, in any civil, criminal, or administrative action or

proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

Stipulation;

               b)      shall be offered against (a) Defendants or Defendants’ Releasees as evidence

of a presumption, concession, or admission of any fault, misrepresentation, or omission with

respect to any statement or written document approved or made by any Defendant or Defendants’

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Releasees or (b) Plaintiffs or any of the other Settlement Class Members as evidence of any

infirmity in the claims of Plaintiffs and the other Settlement Class Members;

              c)      shall be construed against Defendants or Defendants’ Releasees, Plaintiffs, or

the other Settlement Class Members as an admission or concession that the consideration to be

paid hereunder represents the amount that could be or would have been recovered after trial or that

any damages potentially recoverable in the Actions would have exceeded or would have been less

than the Settlement Amount; or

              d)      shall be offered against any of Plaintiffs’ Releasees as evidence of, or construed

as, or deemed to be evidence of, any presumption, concession, or admission by any of Plaintiffs’

Releasees that any of their claims are without merit, that any of Defendants or Defendants’

Releasees had meritorious defenses, or that damages recoverable under the complaints in the

Actions would not have exceeded the Settlement Amount, or with respect to any liability,

negligence, fault, or wrongdoing of any kind, or in any way referred to for any other reason as

against any of Plaintiffs’ Releasees, in any civil, criminal, or administrative action or proceeding,

other than such proceedings as may be necessary to effectuate the provisions of the Stipulation;
provided, however, that if the Settlement (as embodied by the Stipulation) is approved by the

Court, the Parties and the Releasees and their respective counsel may refer to it to effectuate the

protections from liability granted hereunder or otherwise to enforce the terms of the Settlement,

including, without limitation, to support a defense or claim based on principles of res judicata,

collateral estoppel, release, good faith settlement, judgment bar or reduction, or any other theory

of claim preclusion or issue preclusion or similar defense or claim under U.S. federal or state law

or foreign law.

        15.        Retention Of Jurisdiction – Without affecting the finality of this Judgment in any
way, this Court retains continuing and exclusive jurisdiction over: (a) the Settling Parties for
purposes of the administration, interpretation, implementation, and enforcement of the Settlement
and Judgment, including any releases executed in connection therewith; (b) the disposition of the


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Settlement Fund; (c) any motion for an award of attorneys’ fees and/or reimbursement of Litigation
Expenses by Lead Counsel in the Actions that will be paid from the Settlement Fund; (d) any
motion to approve the Plan of Allocation; (e) any motion to approve the Class Distribution Order;
and (f) the Settlement Class Members for all matters relating to the Actions.
        16.    Modification Of The Agreement Of Settlement – Without further approval from
the Court, Plaintiffs and Defendants are hereby authorized to agree to and adopt such amendments
or modifications of the Stipulation or any exhibits attached thereto to effectuate the Settlement
that: (a) are not materially inconsistent with this Judgment; and (b) do not materially limit the
rights of Settlement Class Members in connection with the Settlement. Without further order of
the Court, Plaintiffs and Defendants may agree to reasonable extensions of time to carry out any
provisions of the Settlement.
        17.    Attorney Fees and Expenses – The Court hereby awards the Securities Subclass
Counsel attorneys’ fees in the amount of 25% of the Securities Subclass Fund and expenses in an
amount of $197,775.30, together with the interest earned thereon for the same time period and at
the same rate as that earned on the Settlement Fund until paid. The Court further awards the
Multiplan Subclass Counsel attorneys’ fees in the amount of 25% of the Multiplan Subclass Fund
and expenses in an amount of $67,210.41, together with the interest earned thereon for the same
time period and at the same rate as that earned on the Settlement Fund until paid. The Court finds
that the fees awarded are fair and reasonable in light of the time and labor required, the novelty
and difficulty of the case, the skill required to prosecute the cases, the experience and ability of
the attorneys, awards in similar cases, the contingent nature of the representation and the result
obtained for the Settlement Class.
        18.    Plaintiffs’ Expenses Related to Representation of the Settlement Class – The
Court hereby awards Plaintiffs their reasonable costs and expenses (including lost wages) directly
related to their representation of the Settlement Class, as provided in 15 U.S.C. § 78u-4(a)(4), in
the amount of $30,000.00 for Lead Plaintiffs Phoenix Insurance Company Ltd. and The Phoenix
Pension & Provident Funds and $5,000.00 for Consolidated Plaintiff City of Melbourne

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Firefighters’ Retirement System.
        19.    The awarded attorneys’ fees and expenses, and interest earned thereon, as well as
any costs or expenses awarded pursuant to the previous paragraph, shall be paid to Plaintiffs’
Counsel (or to the class representatives described in the previous paragraph) from the Settlement
Fund immediately after the date this Judgment is executed subject to the terms, conditions, and
obligations of the Stipulation. Any awards of attorneys’ fees and expenses, as well as any costs or
expenses awarded pursuant to the previous paragraph, shall in no way affect or delay the finality
of this Judgment and shall not affect or delay the Effective Date of the Settlement.
        20.    Termination Of Settlement – If the Settlement is terminated as provided in the
Stipulation or the Effective Date of the Settlement otherwise fails to occur, this Judgment shall be
vacated, rendered null and void, and be of no further force and effect, except as otherwise provided
by the Stipulation, and this Judgment shall be without prejudice to the rights of Plaintiffs, the other
Settlement Class Members, and Defendants, the Securities Parties shall revert to their respective
positions in the Securities Action as of January 22, 2024 (the date the Court entered its order
adjourning all discovery deadlines in the Securities Action), and the parties to the Multiplan
Actions shall revert to their respective positions concerning the putative class (direct) claims in
those actions as of April 22, 2024 (the date the parties to the Multiplan Actions reached an
agreement in principle to settle those actions) as provided in the Stipulation.
        21.    Entry of Final Judgment – There is no just reason to delay the entry of this
Judgment as a final judgment in this Securities Action and as a final judgment for the putative
class (direct) claims in the Ghaith Action. Accordingly, the Clerk of the Court is expressly directed
to immediately enter this final judgment in this Securities Action and the Ghaith Action.


SO ORDERED this 24th day of September 2024

                                                           ____________________________
                                                           Honorable Edmond E. Chang
                                                           United States District Judge



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